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                                                                      COUNSEL/PARTIES OF RECORD


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                                                                     7/31/2024
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                                                                   CLERK US DISTRICT COURT
 3                                                                   DISTRICT OF NEVADA
                                                             BY:                          DEPUTY
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 5                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 6

 7 UNITED STATES OF AMERICA,                        2:23-CR-191-APG-NJK

 8                 Plaintiff,                       Amended Preliminary Order of Forfeiture

 9          v.

10 CAROL KIRBY,

11                 Defendant.

12         This Court finds Carol Kirby pled guilty to Count One of a One-Count Criminal
13 Information charging her with conspiracy to commit an offense against the United States in

14 violation of 18 U.S.C. §§ 1347 and 371. Criminal Information, ECF No. 14; Plea

15 Agreement, ECF No. 15; Arraignment & Plea, ECF No. 17.

16         This Court finds Carol Kirby agreed to the forfeiture of the property, the substitute
17 property, the substitution and forfeiture of defendant’s other assets, and the imposition of

18 the in personam criminal forfeiture money judgment set forth in the Plea Agreement and the

19 Forfeiture Allegation of the Criminal Information. Criminal Information, ECF No. 14; Plea

20 Agreement, ECF No. 15; Arraignment & Plea, ECF No. 17.

21         This Court finds, under Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United States of
22 America has (1) proven the amount for the personal criminal forfeiture money judgment

23 and (2) established the requisite nexus between the property set forth in the Plea Agreement

24 and the Forfeiture Allegation of the Criminal Information and the offense to which Carol

25 Kirby pled guilty.

26         The following property and money judgment are (1) any property, real or personal,
27 which constitutes or is derived from proceeds traceable to a violation of 18 U.S.C. § 1347, a

28 specified unlawful activity as defined in 18 U.S.C. § 1956(c)(7)(F), involving a Federal
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 1   health care offense as defined in 18 U.S.C. § 24, or 18 U.S.C. § 371, conspiracy to commit

 2   such offense or (2) property, real or personal, that constitutes or is derived, directly or

 3   indirectly, from gross proceeds traceable to the commission of 18 U.S.C. §§ 1347 and 371,

 4   involving a Federal health care offense as defined in 18 U.S.C. § 24 and are subject to

 5   forfeiture under 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c); 18 U.S.C. § 982(a)(7);

 6   and 21 U.S.C. § 853(p):

 7              1. $5,791.13;

 8              2. $5,548.94;

 9              3. 6800 E. Lake Mead Blvd #2076, Las Vegas, Nevada 89156, more

10                  particularly described as:

11                  PARCEL I:
12                  TOGETHER WITH AN UNDIVIDED ALLOCATED FRACTIONAL
                    INTEREST IN AND TO THE GENERAL COMMON ELEMENTS, AS
13                  SET FORTH IN, AND SUBJECT TO, THE AMENDED PLAT AND
                    THE MOUNTAINSIDE COMMUNITY SUBDIVISION
14                  DECLARATION.
15                  PARCEL II:
16                  UNIT 2076 IN BUILDING 10, AS SHOWN ON THE FINAL MAP OF
                    AMENDED PLAT OF MOUNTAINSIDE COMMUNITY
17                  SUBDIVISION, FILED IN BOOK 50 OF PLATS, PAGE 29, IN THE
                    OFFICIAL RECORDS OF THE COUNTY RECORDER, CLARK
18                  COUNTY, NEVADA, AND AS DEFINED AND SET FORTH IN AND
                    SUBJECT TO THAT CERTAIN DECLARATION OF COVENANTS,
19                  CONDITIONS AND RESTRICTIONS FOR AMENDED PLAT OF
                    MOUNTAINSIDE COMMUNITY SUBDIVISION, RECORDED
20                  SEPTEMBER 24, 1993 AS INSTRUMENT NO. 01167 IN BOOK 930924,
                    OFFICIAL RECORDS, CLARK COUNTY, NEVADA
21                  (“MOUNTAINSIDE COMMUNITY SUBDIVISION DECLARATION”).
22                  PARCEL III:
23                  TOGETHER WITH AN EXCLUSIVE INTEREST IN AND TO THOSE
                    LIMITED COMMON ELEMENTS, IF ANY, APPURTENANT TO THE
24                  UNIT, AS SET FORTH IN, AND SUBJECT TO, THE AMENDED
                    PLAT AND THE MOUNTAINSIDE COMMUNITY SUBDIVISION
25                  DECLARATION.
26                  PARCEL IV:
27                  TOGETHER WITH A NON-EXCLUSIVE EASEMENT OF
                    REASONABLE INGRESS TO AND EGRESS FROM THE UNIT, AND
28                  OF ENJOYMENT OF THE GENERAL COMMON ELEMENTS, AS
                                         2
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 1                 SET FORTH IN, AND SUBJECT TO, THE AMENDED PLAT AND
                   THE MOUNTAINSIDE COMMUNITY SUBDIVISION AND ALL
 2                 IMPROVEMENTS AND APPURTENANCES THEREON. APN: 140-23-
                   217-156.
 3

 4              4. 2284 Mesa Canyon Dr, Laughlin, Nevada 89029, more particularly

 5                 described as:

 6                 LOT 9 IN BLOCK 1 OF TERRACE V UNIT 1, AS SHOWN BY MAP
                   THEREOF ON FILE IN BOOK 41 OF PLATS, PAGE 73, IN THE
 7                 OFFICE OF THE COUNTY RECORDER OF CLARK COUNTY,
                   NEVADA AND ALL IMPROVEMENTS AND APPURTENANCES
 8                 THEREON. APN: 264-21-311-009.

 9              5. 781 N. Leslie St., Pahrump, Nevada 89060, more particularly described as:

10                 THE NORTHWEST QUARTER (NW 1/4) OF THE NORTHWEST
                   QUARTER (NW 1/4) OF SECTION 8, TOWNSHIP 20 SOUTH, RANGE
11                 53 EAST, M.D.B. &M. EXCEPTING THEREFROM THAT CERTAIN
                   PARCEL OF LAND CONVEYED BY DOCUMENT RECORDED MAY
12                 22, 1974 IN BOOK 173 OF OFFICIAL RECORDS, PAGE 36 AS FILE
                   NO. 42259 NYE COUNTY, NEVADA RECORDS. ALSO DESCRIBED
13                 AS: T20S R53E S8-S S NW NW P#9732 10AC AND ALL
                   IMPROVEMENTS AND APPURTENANCES THEREON. APN: 036-
14                 041-06.

15
                6. 1412 West Grove Rd, Decatur, Illinois 62521, more particularly described
16
                   as:
17
                   LOT THREE (3) OF NEW VISION SUBDIVISION, AS PER PLAT
18                 RECORDED IN BOOK 5000, PAGE 40 IN THE RECORDS OF THE
                   RECORDER’S OFFICE OF MACON COUNTY, ILLINOIS. SITUATED
19                 IN MACON COUNTY, ILLINOIS, AND ALL IMPROVEMENTS AND
                   APPURTENANCES THEREON. APN: 17-12-28-451-016.
20

21              7. 1414 West Grove Rd, Decatur, Illinois 62521, more particularly described

22                 as:

23                 LOT ONE (1) OF CHURCH OF GOD ADDITION, AS PER PLAT
                   RECORDED IN BOOK 5000, PAGE 125 IN THE RECORDS IN THE
24                 RECORDER’S OFFICE OF MACON COUNTY, ILLINOIS. SITUATED
                   IN MACON COUNTY, ILLINOIS, AND ALL IMPROVEMENTS AND
25                 APPURTENANCES THEREON, APN: 17-12-28-451-017

26   (all of which constitutes property)

27          and an in personam criminal forfeiture money judgment of $29,819.36, not to be

28   held jointly and severally liable with any codefendants, the collected money judgment
                                                  3
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 1   amount between Greg Kirby and Carol Kirby is not to exceed $29,819.36, to ensure the

 2   government does not collect more than the forfeitable amount based on the forfeiture

 3   statutes and Ninth Circuit cases, and that the above property will not be applied toward the

 4   payment of the money judgment.

 5            This Court finds that Carol Kirby agreed to the substitution and forfeiture of

 6   $29,819.36 as set forth in the Plea Agreement under Fed. R. Crim. P. 32.2(e) and 21 U.S.C.

 7   § 853(p) and will be applied toward payment of the money judgment (all of which is

 8   afterward included as property).

 9            This Court finds that on the government’s motion, the Court may at any time enter

10   an order of forfeiture or amend an existing order of forfeiture to include subsequently

11   located property or substitute property under Fed. R. Crim. P. 32.2(e) and 32.2(b)(2)(C).

12            The in personam criminal forfeiture money judgment complies with United States v.

13   Lo, 839 F.3d 777 (9th Cir. 2016); Honeycutt v. United States, 581 U.S. 443 (2017); United States

14   v. Thompson, 990 F.3d 680 (9th Cir. 2021); and United States v. Prasad, 18 F.4th 313 (9th Cir.

15   2021).

16            This Court finds the United States of America is now entitled to, and should, reduce

17   the aforementioned property to the possession of the United States of America.

18            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

19   DECREED that the United States of America should seize the aforementioned property.

20            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United

21   States of America recover from Carol Kirby an in personam criminal forfeiture money

22   judgment of $29,819.36.

23            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

24   rights, ownership rights, and all rights, titles, and interests of Carol Kirby in the

25   aforementioned property are forfeited and are vested in the United States of America and

26   shall be safely held by the United States of America until further order of the Court.

27            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States

28   of America shall publish for at least thirty (30) consecutive days on the official internet
                                                     4
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 1   government forfeiture website, www.forfeiture.gov, notice of this Order, which shall

 2   describe the forfeited property, state the times under the applicable statute when a petition

 3   contesting the forfeiture must be filed, and state the name and contact information for the

 4   government attorney to be served with the petition, under Fed. R. Crim. P. 32.2(b)(6).

 5   Notice is served on any individual or entity on the date when it is placed in the mail,

 6   delivered to a commercial carrier, or sent by electronic mail under Fed. R. Crim. P.

 7   32.2(b)(6)(D) and Supplemental Rule G(4)(b)(iii)-(v).

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

 9   or entity who claims an interest in the forfeited property must file a petition for a hearing to

10   adjudicate the validity of the petitioner’s alleged interest in the property under 21 U.S.C.

11   § 853(n)(2), which petition shall be signed by the petitioner under penalty of perjury under

12   21 U.S.C § 853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the

13   petitioner’s right, title, or interest in the property, the time and circumstances of the

14   petitioner’s acquisition of the right, title, or interest in the property, any additional facts

15   supporting the petitioner’s claim, and the relief sought.

16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

17   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

18   Nevada 89101, within thirty (30) days of the final publication of notice on the official

19   internet government forfeiture site, www.forfeiture.gov, or his receipt of written notice,

20   whichever is earlier.

21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

22   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

23   Attorney’s Office at the following address at the time of filing:

24                  Daniel D. Hollingsworth
                    Assistant United States Attorney
25                  Misty L. Dante
                    Assistant United States Attorney
26                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
27

28   ///
                                                      5
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

 2   described herein need not be published in the event a Declaration of Forfeiture is issued by

 3   the appropriate agency following publication of notice of seizure and intent to

 4   administratively forfeit the above-described property.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

 6   copies of this Order to all counsel of record and three certified copies to the United States

 7   Attorney’s Office, Attention Asset Forfeiture Unit.

 8                     July 31
            DATED _____________________, 2024.

 9

10

11                                               ANDREW P. GORDON
                                                 UNITED STATES DISTRICT JUDGE
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